                      UNITED STATES BANKRUPTCY COURT
                       EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION (DETROIT)

In re

MOOSE M. SCHEIB,                                      Chapter 7
                                                      Case No. 21-42581
         Debtor.                                      Hon. Mark A. Randon

______________________________

KELLY SILVERA JARRETT,                                Adversary Proceeding
                                                      Case No. 21-04167
         Plaintiff,

v.

MOOSE SCHEIB,

         Defendant.

PAUL F. DOHERTY (P36579)                        MOOSE M. SCHEIB
VEN R. JOHNSON (P39219)                         IN PRO PER
JOHNSON LAW, PLC                                15 Bradford Ct., Unit 27
Attorneys for Plaintiff                         Dearborn, MI 48126-4170
535 Griswold Street, Suite 2600
Detroit, MI 48226
(313) 324-8300
pdoherty@venjohnsonlaw.com
vjohnson@venjohnsonlaw.com


                       JOINT FINAL PRETRIAL STATEMENT

        The Parties, through counsel, hereby submit this Joint* Final Pretrial

Statement:



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      * Plaintiff’s counsel reached out several times to Defendant via email

requesting he provide his portions of the JFPTS in advance of the 09/01/2022 due

date set by the Court, ultimately advising Defendant if his portions were not

submitted by noon on 09/01/2022, the JFPTS would be filed containing only

Plaintiff’s portions. As of the filing of this proposed order, Defendant had not

provided Plaintiff’s counsel with anything.

   (1) JURISDICTION: This Court has jurisdiction over this matter pursuant to

28 U.S.C. §1334(b), because this case arises in and relates to a Chapter 7

bankruptcy pending case. The bankruptcy court has jurisdiction over matters that

are “related to” the bankruptcy proceeding. Mich. Empl. Sec. Comm'n v. Wolverine

Radio Co. (In re Wolverine Radio Co.), 930 F.2d 1132, 1142 (6th Cir. 1991). To

determine whether a matter is “related to” the bankruptcy proceeding, the Sixth

Circuit looks at whether the outcome of this matter “could alter the debtor's rights,

liabilities, options, or freedom of action (either positively or negatively) and which

in any way impacts upon the handling and administration of the bankrupt

estate." Id. at 1142 (quoting Pacor, Inc. v. Higgins, 743 F.2d 984, 994 (3d Cir.

1984)). This case also involves core matters, pursuant to 28 U.S.C. §

157(b)(2)(A),(E),(H).




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   (2) PLAINTIFF’S CLAIMS:

      This is an action for conversion, Count I, unjust enrichment, Count II,

misrepresentation, Count III and breach of contract, Count IV.

      Plaintiff holds dual citizenship, British and Jamaican. In 2016, she desired to

immigrate to the United States under the “EB-5 Immigrant Investor Program” which

requires that a person seeking to immigrate United States invest at least $500,000 in

a U.S.-based “New Commercial Enterprise” (NCE). To induce Plaintiff transfer

$500,000 to him, Defendant Schieb, an attorney, falsely represented that he was an

“EB-5 agent” for the State of Michigan and his company, CBIG CCS LLC

(“CBIG”), qualified as a NCE. Relying on these representations, Plaintiff sent

$500,000.00 to CBIG’s account at mBank via two wire transfers; the first occurred

on July 3, 2016 for $475,000.00, and a second wire transfer for $25,000 was made

on December 15, 2016. Both Wire Transfer Confirmation forms contained the

memo: “EB5 INVESTMENT.” Consistent with her desire to pursue an EB-5

application, in September 2016, Plaintiff retained attorney Rohit Turkhud of

Fakhoury Law Group, a firm which specializes in immigration law, to handle the

legal work surrounding Plaintiff’s EB-5 application, including preparing the I-526

Immigration Petition, which must document the immigrant has invested or is in the

process of investing the required capital in either a NCE or EB-5 Regional Center

Program.


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      Defendant Scheib was the only member of CBIG and had sole control over its

mBank account, which was opened only days before Plaintiff made the $475,000

deposit. Beginning two days after the funds were received, Defendant began the

systematic withdrawal of Plaintiff’s money and within 10 months, Defendant had

converted all of Plaintiff’s funds, taking on average over $50,000 per month.

Defendant has admitted none of the money was invested in a legitimate NCE or

otherwise used to further Plaintiff’s EB-5 application. On the contrary, Plaintiff’s

money went to fund Defendant’s lavish, but illusory, lifestyle which included

multiple trips to the Middle East, extended stays at luxury hotels, and a $10,000

membership in Quintessentially USA, which touts itself as the “world’s leading

luxury lifestyle group.” Defendant also made cash transfers of over $450,000 to

other accounts he controlled, primarily one in the name of Cedar Bey. From both the

CBIG and Cedar Bey accounts, Defendant spent lavishly, none of it for the benefit

of Plaintiff or her EB-5 application. All the while, both Plaintiff and attorney

Turkhud made multiple inquires to Defendant regarding the status of Plaintiff’s

investment in CBIG so that the I-526 could be completed and Plaintiff’s EB-5

application filed. Defendant repeatedly provided false information regarding CBIG,

but was never able to provide the required verification, compelling Mr. Turkhud to

withdraw from representing Plaintiff.           Obviously concerned, Plaintiff began

demanding that Defendant return her money only to be met with multiple false


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promises of repayment by Defendant. Plaintiff eventually filed a civil action in the

Wayne County Circuit Court (stayed upon the filing of his petition in this Court), a

Grievance with the Connecticut State Bar and a complaint with the Michigan

Corporations, Securities & Commercial Licensing Bureau.

      To deflect his conversion, Defendant falsely claims the money Plaintiff

transferred to CBIG was a “loan” to him to be used anyway he wanted, while

admitting there are no loan documents, promissory notes, no repayment date or loan

terms of any kind. The “loan defense” was rejected by an Administrative Law Judge

in the matter of the Corporations, Securities & Commercial Licensing Bureau v.

CBIG CCS, LLC, and Mustafa Schieb, Docket No. 19-015975, State of Michigan

Office of Administrative Hearings. A trial was conducted commencing December

11, 2019 “under the jurisdiction of the Michigan Uniform Securities Act (2002),

2008 PA 551, as amended, MCL 451.2101, et. seq.” On February 13, 2020,

Administrative Law Judge Erick Williams issued his Decision rejecting Defendant’s

“loan” argument. According to Judge Williams: “Mr. Schieb offered – and Ms.

Silvera paid for – an investment in CBIG CCS, LLC. Those facts bring the

transaction under MCL 451.2301 and MCL 451.250 .… The fact that Silvera sent

her $500,000.00 to CBIG CCS, LLC, implies that she intended the money as an EB-

5 investment, that is, as an investment that would qualify her for an EB-5 Visa.”

Judge Williams recommended that Defendant Schieb and CBIG each be fined


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$20,000. On May 5, 2020 a Final Order was entered by the Corporations, Securities

& Commercial Licensing Bureau Director affirming the $20,000 fine assessed

against Defendant. No appeal, circuit court challenge, etc. was initiated. Therefore,

collateral precludes Defendant from relitigating the investment vs. loan issue.

      Plaintiff’s claims are for common law and statutory conversion under MCL

600.2919(a)(1) which provides for the trebling of actual damages. Plaintiff is,

therefore, entitled to $500,000.00 for the principal amount stolen, which is to be

trebled to $1,500,000.00.

   (3) DEFENDANT’S CLAIMS: None provided by Defendant

   (4) STIPULATION OR ADMISSION OF FACTS AND LAW:

   Defendant’s failure to collaborate means there are no stipulations of fact or law.

   (5) ISSUES OF FACT TO BE LITIGATED:

   1. Did Defendant convert $500,000 belonging to Plaintiff?

   2. Was Defendant unjustly enriched by his receipt of $500,000 in funds to

      which he had no right?

   3. Did Defendant make material misrepresentations to Plaintiff to induce her to

      transfer $500,000 to CBIG CCS LLC?

   4. Did Defendant breach a contract with Plaintiff when he withdrew her funds

      from the CBIG CCS LLC account and did not use them in furtherance of her

      EB-5 application?


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   5. Was Defendant’s conduct egregious warranting an award of exemplary

      damages?

   (6) ISSUES OF LAW TO BE LITIGATED:

   1. Does collateral estoppel and/or res judicata preclude the relitigation of the

finding of State of Michigan Office of Administrative Hearings’ Opinion that the

monies advanced by Plaintiff were an investment in CBIG CCS LLC and not a

loan to Defendant personally?

         a. Plaintiffs Supporting Cases: Storey v Meijer, Inc. 431 Mich 368, 373;

             429 NW 2nd 169 (1988); Senior Accts., Analysts & Appraisers Ass'n v.

             City of Detroit, 60 Mich. App. 606, 231 N.W.2d 479

             (1975), aff'd, 399 Mich. 449, 249 N.W.2d 121 (1976); Dearborn

             Heights Sch. Dist. No. 7 v. Wayne Cnty. MEA/NEA, 233 Mich. App.

             120, 592 N.W.2d 408 (1998).

         b. Defendants Supporting Cases: None provided.

   2. In the event of a finding of conversion, is Plaintiff entitled to treble damages

      pursuant to MCL 600.2919a(1)?

         a. Plaintiffs Supporting Cases: Aroma Wines & Equip, Inc. v. Columbian

             Distribution Servs., Inc., 497 Mich. 337, 871 N.W.2d 136 (2015);

             Hoffenblum v. Hoffenblum, 308 Mich. App. 102, 863 N.W.2d 352




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             (2014); Alken-Ziegler, Inc. v. Hague, 283 Mich. App. 99, 767 N.W.2d

             668 (2009).

         b. Defendants Supporting Cases: None provided.

   3. In the event Defendant’s conduct is found to be willful and egregious, is

      Plaintiff entitled to exemplary damages?

         a. Plaintiffs Supporting Cases: Veselenak v Smith, 414 Mich. 567, 573;

             327 N.W.2d 261 (1982); Kewin v. Mass. Mut. Life Ins. Co., 409

             Mich. 401, 295 N.W.2d 50 (1980); and McPeak v. McPeak, 233 Mich.

             App. 483, 593 N.W.2d 180 (1999).

         b. Defendants Supporting Cases: None provided.

   (7) EVIDENCE PROBLEMS LIKELY TO ARISE AT TRIAL:

   From Plaintiff: Defendant has failed to disclose witnesses or proposed exhibits;

therefore, Plaintiff cannot anticipate possible evidentiary problems. Plaintiff will

request an order that Defendant be precluded from offer witnesses or exhibits.

   From Defendants: None identified.

   (8) WITNESSES AND EXHIBIT LISTS:

      a. Witnesses and Exhibits for Plaintiff:

            i.   Live Witnesses:
                 Kelly Silvera Jarrett
                 Moose Scheib
                 Rohit Turkhud (likely by deposition)

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               Rami D. Fakhoury (likely by deposition)
               James Cline
               Natalie June
               Any keeper of the records necessary to authenticate records
               to the extent authentication is disputed.

         ii.   Lay depositions: Plaintiff reserves the right to offer the deposition

               testimony Rohit Turkhud or Rami Fakhouri to the extent either of

               these witnesses are unavailable at the time of trial.

        iii.   Live expert: None

        iv.    Expert depositions: None

         v.    Plaintiff’s Exhibits:

               1. HSBC Funds Transfer Form, 07/03/2016, $475,000
               2. HSBC Funds Transfer Form 12/15/2016, $25,000
               3. Email from Moose Scheib to Kelly Silvera, 03/31/14
               4. CBIG Call Center Service LLC, company description
               5. CBIG Business Plan, October 2015
               6. CBIG CCS LLC acknowledgement of receipt of funds,
                  09/09/2016
               7. CBIG CCS LLC Company Agreement
               8. Email from Rohit Turkhud to M. Scheib re retainer agreement
               9. Fakhoury Law Group EB-5 Retainer Agreement
               10. Fakhoury Law Group, Kelly Jarrett EB-5 Fee Schedule
               11. Fakhoury Law Group, Immigration Brochure



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               12. Fakhoury Law Group, EB-5 Regional Center – Immigrant
                  Investor Flow Chart
               13. Email thread to/from Plaintiff and Turkhud, 08/08/16
               14. Email from Plaintiff to Turkhud, 08/25/16
               15. Email from Turkhud to Plaintiff, 09/05/16
               16. Email from Turkhud to Plaintiff, 09/14/16
               17. Email thread to/from James Cline and Turkhud, 09/15/16
               18. Email from Plaintiff to Defendant, 10/27/16
               19. Email from Turkhud to Plaintiff, 10/27/16
               20. Email from Plaintiff to Turkhud, 11/18/16
               21. Email from Turkhud to Plaintiff, 11/27/16
               22. Email from Turkhud to Plaintiff, 11/27/16
               23. Email thread to/from Plaintiff and Turkhud, 12/05/16
               24. Email from Plaintiff to Cline, 12/05/16
               25. Email from Plaintiff to Turkhud, 12/07/16
               26. Email from James Cline to Plaintiff, 12/07/16
               27. Email from Turkhud to Cline, 12/08/16
               28. Email from Turkhud to Cline, 12/08/16
               29. Email from Fakhoury to Defendant, 12/08/16
               30. Email from Turkhud to Plaintiff, 12/15/16
               31. Email from Turkhud to Plaintiff, 12/18/16
               32. Email from Plaintiff to Turkhud, 12/19/16
               33. Email from Plaintiff to Turkhud, 01/08/17
               34. Email from Turkhud to Plaintiff, 01/11/17
               35. Email from Plaintiff to Turkhud, 01/11/17
               36. Email from Plaintiff to Defendant and Cline, 01/23/17
               37. Email from Plaintiff to Turkhud, 01/25/17
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               38. Email from Turkhud to Plaintiff, 01/25/17
               39. Email from Turkhud to Plaintiff, 01/25/17
               40. Email from Turkhud to Plaintiff, 02/25/17
               41. Email from Plaintiff to Turkhud, 02/25/17
               42. Email from Turkhud to Plaintiff, 02/26/17
               43. Email from Wolff to Plaintiff, 03/22/17
               44. Email from Plaintiff to Wolff, 03/24/17
               45. Sample I-526 Immigrant Petition by Alien Investor
               46. Email from Defendant to Husseini, 10/27/15
               47. Texas Growth Fund Brochure
               48. Email from Turkhud to Defendant, 06/28/16
               49. Email from Defendant to Plaintiff, 01/07/17
               50. Email from Defendant to Cline, 01/25/17
               51. Letter from Defendant to Mark Galliver/LARA
               52. Email from Defendant to Wm. Mack, 06/06/16
               53. Email from Cline to Turkhud, 12/08/16
               54. Affidavit of Moose Scheib, 09/21/18
               55. CBIG CCS LLC Financial Projections
               56. Hearing Transcript, Corporations and Securities &
                  Commercial Licensing Bureau v. Mustafa Scheib, Docket Nos.
                  19-015975 and 19-015977
               57. Email from Defendant to Plaintiff, 04/15/18
               58. Audi/Transcript of audio recording from Moose Scheib,
                  November 1, 2017
               59. Email from Turkhud to Plaintiff, 01/25/17
               60. Fakhoury Law Group Retention Invoicing
               61. Email from Defendant to Plaintiff, 01/07/17
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                 62. Email from Defendant to Plaintiff, 06/06/18
                 63. Email from Plaintiff to Defendant, 07/31/18
                 64. Email from Cline to Plaintiff, 01/24/17
                 65. Email Turkhud to Plaintiff, 11/27/17
                 66. Sale of home accounting
                 67. Text message thread between Plaintiff and Defendant
                 68. mBank records, Account No. 50510602
                 69. mBank Records, Account No. 50509183
                 70. mBank Records, Account No. 50510815
                 71. Summary of conversion by month, July 2016 through
                    April 2017.
                 72. Defendant’s Accounting for $500,000

              xi. Witnesses and Exhibits for Defendant: None identified.

              xii. Objection(s): Plaintiff objects to Defendant calling any

witnesses or offering any witness testimony given his failure to participate in the

formulation of this order or identify witnesses or exhibits.

   (9) DAMAGES: Plaintiff sustained the loss of the monies entrusted to

Defendant. Plaintiff is entitled to the $500,000 principal amount converted plus

trebling to $1,500,000 under MCL 600.2919a(1). Plaintiff also seeks damages for

her emotional trauma and/or exemplary damages. In Michigan, an award of

exemplary damages is considered proper if it compensates a plaintiff for the

"humiliation, sense of outrage, and indignity" resulting from injuries "maliciously,

wilfully and wantonly" inflicted by the defendant. Kewin v. Mass. Mut. Life Ins. Co.,
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409 Mich. 401, 295 N.W.2d 50 (1980). The theory of these cases is that the

reprehensibility of the defendant's conduct both intensifies the injury and justifies

the award of exemplary damages as compensation for the harm done the plaintiff's

feelings. Id.

   (10) ESTIMATED LENGTH OF TRIAL:

                     c. Bench Trial

                     d. Time for Plaintiff’s Proofs: 1-2 days

                     e. Time for Defendant’s Proofs: No estimate provided.


   (11) ARBITRATION: Plaintiff does not agree to arbitration.

   (12)         STATEMENT RE SETTLEMENT: From Plaintiff’s perspective,

discussing settlement with Defendant is pointless given he has no money, no job,

etc.

   (13)         FILING OF TRIAL BRIEFS: Plaintiff agrees to file a trial brief and

proposed findings of fact at least three (3) business days before trial.

Approved as to form and for entry:

/s/ Paul F. Doherty
Paul F. Doherty (P36579)
Attorney for Plaintiff                                September 1, 2022




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